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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
ADRIA ENGLISH,                                                     DOC #: _________________
                                                                   DATE FILED: _09/10/2024___
                              Plaintiff,

               -against-                                                  24 Civ. 5090 (AT)

SEAN COMBS a/k/a “P. DIDDY, DIDDY, PUFF, PUFF                                  ORDER
DADDY, PUFFY, BROTHER LOVE”, BAD BOY
ENTERTAINMENT HOLDINGS, INC., SEAN JOHN
CLOTHING LLC, INC., COMBS GLOBAL
ENTERPRISES, TAMIKO THOMAS, JACOB
ARABOV a/k/a “JACOB THE JEWELER,” VIBE
MAGAZINE a/k/a “VIBE,” PENSKE MEDIA
CORPORATION a/k/a and d/b/a “PMC,” JOHN and
JANE DOES 1-10, and ORGANIZATIONAL DOES 1-
10,

                        Defendants.
ANALISA TORRES, United States District Judge:

      On July 9, 2024, the Court ordered the parties to submit a joint letter and proposed case
management plan by September 9, 2024. ECF No. 6. Those submissions are now overdue.

      Additionally, on August 6, 2024, Plaintiff was directed to re-file the civil cover sheet and
complaint in compliance with the applicable rules. Plaintiff has not done so.

       Accordingly, by September 17, 2024, Plaintiff shall re-file the civil cover sheet and
complaint as directed. By October 1, 2024, the parties shall submit their joint letter and
proposed case management plan. See ECF No. 6.

       SO ORDERED.

Dated: September 10, 2024
       New York, New York
